Case 1:07-cr-20759-JAL Document 445 Entered on FLSD Docket 03/24/2008 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                  CASE NO. 07-20759-CR-JORDAN

   UNITED STATES OF AMERICA             )
                                        )
   vs.
                                        )
   ANNA ALVAREZ                         )
   ____________________________________ )

             ORDER GRANTING DEFENDANT’S MOTION FOR CONTINUANCE
          The defendant’s motion to continue the trial [D.E. 443] is GRANTED . The interests of justice
  served by a continuance outweigh any interest of the public or the defendants in a speedy trial. As
  a result, the period of delay resulting from this continuance — i.e., from the date the motion was
  filed, March 21, 2008, to and including the date trial commences — is excludable time under the
  Speedy Trial Act. See 18 U.S.C. § 3161(h)(8).
          This case is reset for trial during the two-week trial calendar beginning on May 12, 2008. If
  the case cannot be tried during this two-week period, it will be reset for each successive trial calendar
  until it is tried or resolved. All counsel must be present for calendar call at 9 a.m. on May 6, 2008,
  in Courtroom Eight of the United States Courthouse, 301 N. Miami Avenue, Miami, Florida.
          Counsel shall submit proposed voir dire questions, proposed jury instructions, and lists of
  proposed exhibits prior to the calendar call.
                                                                         th
          DONE and ORDERED in chambers in Miami, Florida, this 24             day of March, 2008.


                                                                  _______________________
                                                                  Adalberto Jordan
                                                                  United States District Judge
  Copy to:        All counsel of record
